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                                                                                                                  U.S. DISTRICT COURT
                                                                                                                      N.D. OF ALABAMA


                              UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION


 KENNETH WATKINS,                                           }
                                                            }
          Plaintiff,                                        }
                                                            }
 v.                                                         }     Case No.: 2:17-cv-00402-RDP
                                                            }
 CITY OF ADAMSVILLE, et al.,                                }
                                                            }
          Defendants.                                       }


                                        MEMORANDUM OPINION

         This case is before the court on the Motion for Summary Judgment filed by the City of

Adamsville (“the City”) and Gayle Phillips (“Phillips”) (collectively, “Defendants”). (Doc. # 29).

The Motion is fully briefed (Docs. # 29, 36, 45) and is ripe for review. After careful consideration,

and for the reasons explained below, the court concludes that Defendants’ Motion for Summary

Judgment (Doc. # 29) is due to be granted in its entirety.

I.       Factual Background1

         This case involves the City’s employment of Plaintiff Kenneth Watkins, an African-

American male, from August 12, 2013 until his resignation on March 30, 2016. Proceeding under

42 U.S.C. § 1983, Plaintiff asserts that the City and Phillips, both in her individual and official

capacities as Plaintiff’s direct supervisor, subjected him to discrimination on the basis of his race

in violation of 42 U.S.C. § 1981 and the Equal Protection Clause of the Fourteenth Amendment




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             The facts set out in this opinion are gleaned from the parties’ submissions and the court’s own examination
of the evidentiary record. All reasonable doubts about the facts have been resolved in favor of the non-moving party.
See Info. Sys. & Networks Corp. v. City of Atlanta, 281 F.3d 1220, 1224 (11th Cir. 2002). These are the “facts” for
summary judgment purposes only. They may not be the actual facts that could be established through live testimony
at trial. See Cox v. Adm’r U.S. Steel & Carnegie Pension Fund, 17 F.3d 1386, 1400 (11th Cir. 1994).

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(Count One). (Doc. # 1 at ¶¶ 81-84). Additionally, Plaintiff claims that the City and Phillips

discriminated him on the basis of his gender in violation of 42 U.S.C. § 1983 and the Equal

Protection Clause (Count Three). (Id. at ¶¶ 90-103). Finally, Plaintiff argues that when he

complained about the alleged disparate treatment, the City and Phillips retaliated against him in

violation of the First and Fourteenth Amendments by treating him differently than white female

employees and ultimately forcing his resignation. (Counts Two and Four). (Id. at ¶¶ 85-89, 104-

108).2

         The court begins its analysis by outlining the general structure of the jail and dispatch

operations within the City’s Police Department. Next, the court summarizes Plaintiff’s

performance evaluations during his training period. The court then details several events involving

Plaintiff and his co-workers and/or supervisors that he characterizes as discriminatory and

retaliatory. Finally, the court discusses the Rule 56 evidence regarding the two primary disciplinary

events that led to Plaintiff’s departure from his employment.

         A.       Structure of the City’s Jail and Dispatch Operations

         On August 12, 2013, the City hired Plaintiff as a jailor and 911 dispatcher. (Doc. # 34-1 at

17, p. 55). Plaintiff’s jailor duties included securing the male and female inmates in their separate

facilities and ensuring they received their meals and recreational breaks. (Id.). As a dispatcher,

Plaintiff answered 911 calls and transferred the calls to the proper agency. (Id. at 17, p. 56). All

jailors employed by the City during this time were required to perform both sets of duties. (Id.).




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            Plaintiff’s Complaint indicates that he is suing Phillips in both her individual and official capacities. (Doc.
# 1 at 1). However, the parties agree that any claims against Phillips in her official capacity are equivalent to claims
against the City and are due to be dismissed. (Docs. # 29 at 18; 36 at 49). See Hardy v. Town of Hayneville, 50 F.
Supp. 2d 1176, 1185 (M.D. Ala. 1999) (quoting Kentucky v. Graham, 473 U.S. 159, 165-66 (1985)). Accordingly,
and without objection, any official capacity claims against Phillips are dismissed. The court analyzes Plaintiff’s claims
against Phillips only in her individual capacity.

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         The City’s Police Department includes the jail and dispatch operations. (Doc. # 29-2 at 4,

p. 11). During Plaintiff’s employment with the City, Robert Carter (“Chief Carter”), a white male,

was the Chief of Police. (Id. at 3, p. 8). Chief Carter described the chain of authority within the

City’s Police Department from top to bottom as follows: Chief of Police, lieutenants, sergeants,

then officers. (Id. at 3, p. 11). Chief Carter relied on the reports of Lynn Lindsey (Chief Carter’s

assistant) and Defendant Gayle Phillips (Jail and Dispatch Supervisor) (both white females) in

supervising the daily operations of the jail and dispatch. (Id. at 3, pp. 11-12). Lindsey’s position

as Chief Carter’s assistant was equivalent to a lieutenant rank, while Phillips acted as a sergeant.

(Id. at 3, p. 12). Plaintiff’s position as a jailor/dispatcher was equivalent to an officer’s rank. (Id.).

Based on this hierarchy, Phillips was Plaintiff’s immediate supervisor. (Doc. # 34-1 at 17, p. 56).

         Because Lindsey and Phillips oversaw the daily operation of the jail and dispatch, they

handled most internal disciplinary matters and employee complaints without the intervention of

Chief Carter. (Doc. # 29-2 at 4-5, pp. 12-13). If Lindsey and Phillips felt the matter was particularly

serious, they would report it up the chain to Chief Carter. (Id.). They also needed Chief Carter’s

approval to suspend or terminate an employee. (Id. at 5, p. 14). So, while Lindsey and Phillips

could strongly recommend that an employee be fired, the ultimate decision-making authority

rested with Chief Carter. (Doc. # 29-4 at 24, p. 89).

         When Plaintiff was initially hired, there were six female and four male jailor/dispatch

employees. (Id. at 18, pp. 57-60).3 The female employees included Phillips, Deirdre Lavies, Cindy

Jackson, Lois Cunningham, Elizabeth Money, and Elizabeth Green. (Id. at 18, pp. 58-60). Shortly

after Plaintiff began work, the City also hired Jana Jameson as another female jailor/dispatcher.

(Id. at 18, p. 58). The male employees included Plaintiff, James Thomas, Joseph Burr, and Drew


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        In addition to the employees listed here, the Rule 56 record includes references to two other white employees
who worked with Plaintiff at various points during his employment: Leah Fields and Doug Blanchard.

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Neal. (Id.). Plaintiff and Lois Cunningham were the only African-American jailor/dispatchers. (Id.

at 19, pp. 62-63). In fact, Plaintiff testified that he and Cunningham were two of the only four

African-American employees in the entire Police Department. (Id.).

       B.      Plaintiff’s Initial Performance Evaluations

       During Plaintiff’s one-year training period, Lindsey and Phillips prepared two performance

evaluations of Plaintiff. (Doc. # 29-6). On October 11, 2013, Lindsey noted (and Phillips agreed)

that Plaintiff’s performance was generally “acceptable,” but he needed improvement in two areas:

“acceptance of feedback” and “general demeanor.” (Id. at 3-4). Specifically, Lindsey commented

that Plaintiff’s principal weakness was that he “gets a little argumentative with supervisors while

training when corrected.” (Id. at 5). His February 25, 2014 evaluation documented general

improvement across the board. (Id. at 7-9). However, Lindsey advised Plaintiff to “use caution

when shutting cell doors when inmates are present. No angry outbursts.” (Id. at 9). This notation

appears to reference an informal counseling session between Phillips and Plaintiff on January 7,

2014, when she counseled him on “his anger issues including slamming a jail cell door without

regard to the safety of inmates” and his “inappropriate conversations with inmates.” (Doc. # 29-

7).

       C.      Employment Events Plaintiff Characterizes as Discriminatory and/or
               Retaliatory

       Plaintiff argues that throughout his employment, Phillips and the City subjected him to

numerous incidents of wrongful discriminatory and retaliatory treatment. Generally speaking,

Plaintiff felt as though Phillips singled him out and talked down to him on a daily basis. (Doc. #

34-1 at 23, pp. 77-79). Several of Plaintiff’s co-workers testified as to what they observed

regarding Plaintiff’s interactions with Phillips. For example, Lois Cunningham testified that at

times, Phillips’s tone while speaking to Plaintiff seemed “less pleasant” than when she spoke to

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other employees. (Doc. # 34-15 at 9, p. 28). In her view, Phillips and Plaintiff did not always “get

along.” (Id. at 8, p. 25). Similarly, Cindy Jackson testified that Phillips was sometimes “rude” and

“hateful” towards Plaintiff, but Phillips behaved “that way to a lot of people.” (Doc. # 34-18 at 5,

p. 11-12). In fact, Jackson also stated that Phillips spoke to Plaintiff the same way she spoke to

female employees. (Id. at 5, p. 10). By contrast, Jana Jameson never observed an instance where

Phillips demeaned Plaintiff or any other male employee. (Doc. # 29-15 at 7, p. 24).

       In addition to Phillips’s general behavior towards him, Plaintiff cites several specific events

that occurred throughout his employment, which he characterizes as discriminatory and/or

retaliatory. The court summarizes the Rule 56 evidence surrounding these events below.

           1. Initial Shift Assignments

       Part of Phillips’s duties as the Jail and Dispatch Supervisor (and Plaintiff’s immediate

supervisor) included scheduling and managing jailor/dispatcher shifts. (Doc. # 29-4 at 4, p. 12).

There were three shifts within the jail/dispatch department: 6:00 a.m. to 2:00 p.m. (first shift); 2:00

p.m. to 10:00 p.m. (second shift); and 10:00 p.m. to 6:00 a.m. (third shift). (Id.). Each shift required

a minimum of two jailor/dispatchers on duty, with each respective employee assigned primarily

either jailor or dispatcher duties for that particular shift. (Id.). Chief Carter preferred having one

male jailor/dispatcher on each shift, particularly the first and second shifts, so that male and female

inmates would feel more comfortable being searched and processed by jailors of their same sex.

(Id. at 8-9, pp. 28-29). Phillips also considered hardships and seniority in scheduling shift

assignments. (Id. at 9, pp. 29).

       Plaintiff was initially trained on the first shift. (Id. at 7, pp. 21; 34-1; 34-1 at 19 at p. 61).

Plaintiff testified that before his training period ended, sometime between August and November

2013, he asked Phillips to place him on the night shift because he had a second job. (Doc. # 34-1



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at 20-21, p. 68). Phillips does not recall Plaintiff asking to be placed on the night shift. (Doc. # 29-

4 at 6, p. 20). Without consulting Plaintiff about hardships, Phillips scheduled Plaintiff on the

second shift, and assigned Jana Jameson, a less senior employee (by about two weeks), to the third

shift. (Id. at 7, 9, pp. 21, 29). According to Plaintiff, Jameson had asked for the second shift. (Doc.

# 34-1 at 20, p. 76). Phillips explained during her deposition that Plaintiff was likely assigned to

the second shift due to Chief Carter’s preference to have one male jailor/dispatcher working the

first and second shifts. (Doc. # 29-4 at 9, p. 29). Plaintiff further testified that he overheard Phillips

and Jameson giggling when Phillips showed Jameson the schedule. (Doc. # 34-1 at 21, pp. 69-71).

Plaintiff did not hear them talking about him, but he thought they were laughing because Jameson

was given the night shift that he requested. (Id.). Phillips and Jameson do not recall this incident.

(Doc. # 29-4 at 8, p. 28; 29-15 at 9, pp. 31-32). Finally, Plaintiff never complained to Phillips or

any other supervisor about not being assigned his shift of choice. (Doc. # 34-1 at 23, p. 77).

            2. January 2014 Book Incident Involving Elizabeth Money

        On January 18, 2014, Elizabeth Money threw a book at Plaintiff’s back while in the

dispatch office during the second shift. (Doc. # 34-1 at 23-25, pp. 80-85; 34-10). Plaintiff

immediately reported the incident to Phillips. (Doc. # 34-1 at 24, p. 81). Phillips prepared a report

for Lindsey. (Doc. # 29-4 at 9, p. 32). Although Phillips testified that she verbally recommended

termination as the penalty, Chief Carter recalled that Phillips’s recommended penalty was

suspension. With Chief Carter’s approval, the City ultimately suspended Money from January 25,

2014 to January 28, 2014. (Id. at 9-10, pp. 32-33; 34-10; 29-2 at 5, pp. 13-14).

        In Plaintiff’s view, suspension was an inadequate punishment in light of a similar incident

involving another white female employee, Deirdre Lavies. (Doc. # 34-1 at 25, pp. 86-88). Plaintiff

testified that, sometime before Money threw the book at him, Lavies hit another white employee



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on the back of the head and was terminated. (Id.). But, the Rule 56 evidence indicates that Phillips

was never made aware of an incident involving Lavies hitting another employee. (Doc. # 29-4 at

13, p. 48). Instead, Chief Carter and Phillips confirmed that Lavies was fired because she made

racist statements targeted at Lois Cunningham, a female African-American employee. (Id. at 14,

p. 49; 29-2 at 7-8, pp. 24-27). Phillips recommended that the City fire her. (Id.).

       Plaintiff also testified that Chief Carter questioned him in his office regarding the book

incident. (Doc. # 34-1 at 64, pp. 243-244). According to Plaintiff, he told Carter that “it’s kind of

hard to be a male over [in the jail/dispatch department].” Carter denies that this conversation

occurred. (Doc. # 29-2 at 14, p. 52). In fact, Carter testified that Plaintiff never complained to him

about being treated differently due to his race or gender. (Id. at 13, p. 47). As Rule 56 caselaw

requires, the court assumes the accuracy of Plaintiff’s statement in this area.

       When Money returned to work, she was placed on the third shift as a form of punishment

for throwing a book at Plaintiff. (Doc. # 34-1 at 26, pp. 90-91; 29-4 at 15, p. 54). According to

Plaintiff, in March 2014, Money complained about working the third shift and was reassigned to

the second shift. (Doc. # 34-1 at 26, pp. 91-95). Plaintiff was then scheduled to the third shift. (Id.

at 27, pp. 95-96). No City employee consulted him prior to implementing this schedule change.

(Id.). At this point in Plaintiff’s employment, working the night shift presented a problem because

he had already arranged his schedule to accommodate his children. (Id.). However, while Plaintiff

contends that he viewed this event as an indication that the needs of Money, a white female

employee, were valued above his own, he never complained to his supervisors about it. (Id. at 28,

pp. 99-100).

       In addition to throwing a book at Plaintiff, Money was also written up, counselled, and/or

disciplined for other work-related misconduct during her employment. For example, in January



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2011, Money called in sick, but was spotted at a Walmart store picking up supplies for a party.

(Doc. # 20). Phillips reported the incident to Lindsey, but the Rule 56 record does not indicate that

Chief Carter was made aware of the issue or that any additional discipline was instituted against

Money. (Id.). In November 2015, a civilian filed a complaint against Money claiming that she was

rude and dismissive while performing dispatch duties. (Id.). Money’s disciplinary record also

includes several other disciplinary forms addressing such things as her failure to log dispatch calls,

divulging confidential department information to the public, and sleeping on the job. (Id.).

Although the Rule 56 record does not reflect when, Money was fired but subsequently reinstated

after a hearing. (Doc. # 29-4 at 11-12, pp. 40-41).

           3. Plaintiff’s Night Shift

       After Plaintiff was transferred to the third shift, Leah Fields, another white

jailor/dispatcher, told Plaintiff that Phillips had asked her to keep an eye on him. (Doc. # 34-1 at

29, p. 101). Cunningham also testified that Jameson had told her that Phillips asked Jameson to

watch Plaintiff. (Id. at 29, pp. 102-103; 34-15 at 10, p. 30). Phillips admitted that she asked

Jameson to inform her if something happened during third shift that she should know about since

she did not work that shift. (Doc. # 29-4 at 8, p. 27). But, she denied instructing any other

jailor/dispatcher to specifically watch Plaintiff. (Id. at 8, pp. 26-27). (Again, the court treats

Plaintiff’s version as true for purposes of its Rule 56 analysis). Phillips never asked Plaintiff to

monitor the shifts she was not working. (Doc. # 34-1 at 30, p. 105).

       Plaintiff also testified that Fields and Jameson both behaved inappropriately while working

the third shift. For example, Fields regularly slept on the job. (Id. at 73, p. 280). He claims Fields

also had a sexual relationship with a male inmate. (Id. at 74, pp. 281-82). As a result, Chief Carter

gave Fields a choice of termination or resignation, and she resigned her employment. (Doc. # 29-



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2 at 9, pp. 30-31). Before Fields resigned, the male inmate with whom she had a sexual relationship

committed suicide during Jameson’s night shift. (Doc. # 34-1 at 74, p. 283). According to Plaintiff,

Jameson gave him a pillow and blankets even though he exhibited signs of depression. (Id.). She

also did not check on him for a period of 40 minutes, which was against policy at the time. (Id. at

35, pp. 127-28). Neither Phillips nor Chief Carter were present at the time of the inmate’s death.

(Docs. # 29-4 at 26, p. 98; 29-2 at 9-10, p. 32-35), so Jameson was not disciplined for giving

blankets to an emotional inmate. (Id.).

            4. March 2014 Memorandum

       On March 13, 2014, three days after Plaintiff was moved to the third shift, Phillips gave

Plaintiff a written memorandum outlining areas in which he could improve his job performance.

(Doc. # 34-1 at 30-34; 29-4 at 17-18). The memorandum was based on several complaints Phillips

had received from the female inmates. (Doc. # 29-4 at 19, p. 72). The memorandum reads as

follows:

       Kenneth,

       I wanted you to know the criteria an inmate can file a grievance against a jailer—
       unfortunately some of your behavior I have heard about would fall under that.

       (1) Denying coffee to females for no reason while serving it to the males—coffee
           was mandated by the Mayor.

       (2) Waking up the females every time you go back there during the night—they
           were complaining you sing and whistle and hum and slam doors and that you
           talk on your phone all night. Kenneth they need to sleep, if you need to learn
           how to tell if they are breathing okay during night shift let me know.

       (3) We have to keep the jail office cool because of the equipment so please do not
           take the blankets from the females—if they disregard your orders then write
           them up.

       (4) 3:00 AM is a bit early to get the inmates up, chief wanted them to start between
           4:00-4:30 AM.



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(Doc. # 34-2 at 2). Phillips also attached a sample “Grievance Procedures Form” that inmates may

file against jailors. (Id. at 3). The form provided a list of potential grounds for the initiation of a

grievance. (Id.). Phillips had circled “Violation of civil rights” and “Unjust denial or restriction of

inmate privileges” on the form. (Id.). Phillips left the memorandum for Plaintiff to find hanging

off a desk in the dispatch office. (Doc. # 34-1 at 32, p. 114; 29-4 at 21-22 pp. 80-82). While Plaintiff

insisted the document was left open, Phillips testified she “taped it up so nobody could open it.”

(Doc. # 29-4 at 22, p. 81).

        Plaintiff disputed several of Phillips’s criticisms. For example, Plaintiff testified that he

actually gave the female inmates one cup of coffee that morning, but informed Phillips that they

might need more because the coffee he gave them tasted strangely. (Doc. # 34-1 at 32, pp. 115-

116). However, Phillips denied that any such conversation motivated the preparation of the

memorandum. (Doc. # 29-4 at 20-21, pp. 75-77). Instead, she explained that her criticism was

based on the female inmates’ report that the male inmates received two cups of coffee when they

only received one cup. (Id.). Furthermore, Plaintiff testified the reason he took blankets away from

female inmates was because they refused to comply with his instruction to remove the blankets

from their faces. (Doc. # 34-1 at 32, p. 114). Finally, Plaintiff stated that other female jailors made

plenty of mistakes while on shift, but he never saw letters addressed to them in the dispatch office.

(Doc. # 34-1 at 33-34, pp. 118-122). According to Plaintiff, they only received verbal feedback.

(Id.). Although Plaintiff viewed this memorandum as a gender-motivated threat and an attempt to

get him fired (Doc. # 34-1 at 33, p. 119), Phillips did not discipline Plaintiff beyond writing this

memorandum. (Id. at 31, p. 111). She did not issue a formal write-up or attempt to fire Plaintiff.

(Id.). By contrast, Phillips explained that because Plaintiff was not fully trained for the night shift,

she wrote the memorandum with the intention of helping Plaintiff. (Doc. # 29-4 at 20, pp. 73-74).



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Plaintiff discussed the memorandum with Phillips the following day, but he did not complain to

any other City employee. (Doc. # 34-1 at 34, pp. 123-24).

            5. Alleged Nepotism

        Plaintiff asked Lindsey whether it was possible for family members to work within the

department. (Doc. # 34-1 at 36-37, pp. 132-34). Plaintiff testified that Lindsey replied, “we’re

trying to get away from that.” (Id. at 37, p. 133). There is no evidence in the Rule 56 record that a

member of Plaintiff’s family actually submitted an employment application to the City.

Nevertheless, about one month after Plaintiff’s conversation with Lindsey, the City hired Derrick

Mills, a white male and stepson to Sergeant Nicks. (Id. at 37, p. 135).

        Shortly thereafter, on July 22, 2015, Plaintiff asked Phillips if he could switch from the

third shift to the first shift. (Id. at 38, p. 137; 34-22). Phillips responded no, because Derrick Mills

and Sergeant Nicks were related and could not work together on the same shift. (Id. at 37-38, pp.

135-38; Id.; 29-4 at 28, p. 107). Plaintiff did not complain to any of his supervisors that Phillips

refused his request to change shifts. (Doc. # 34-2 at 38, p. 138).

        In fact, on August 20, 2015, Lindsey called Plaintiff and offered him the first shift. (Id.;

34-9). Plaintiff refused Lindsey’s offer because he had already adjusted his children’s babysitting

arrangements to work the third shift. (Id.). However, Lindsey’s memo documenting this

conversation shows that Plaintiff “was given a choice to decide which shift he would like”

beginning on August 31, 2015. (Doc. # 34-9).

            6. June 2015 T-shirt Incident

        On June 10, 2015, Mills hung a T-shirt in the dispatch bathroom that depicted Plaintiff as

an inmate of the jail. (Docs. # 34-1 at 75, pp. 285-86; 34-4). Plaintiff told Mills that the T-shirt

was not funny because he was the only African-American male employee, and the shirt implied



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he was a criminal. (Id. at 75, p. 286). Phillips also saw the T-shirt and told Mills to put it away

because it was inappropriate. (Doc. # 29-4 at 14-15, pp. 49-53). She did not, however, report the

incident to Chief Carter or institute any further discipline against Mills. (Id.).

        Additionally, Plaintiff testified that several police officers discussed the Trayvon Martin

and Michael Brown shooting cases in his presence at the dispatch office. (Doc. # 34-1 at 78-79,

pp. 300-301). Plaintiff stated that “[t]here was never any sympathy shown towards the victims,”

and the officers defended George Zimmerman, the person involved in one of the shootings. (Id. at

78, p. 300). Jameson, however, never heard co-workers talking about these shootings. (Doc. # 34-

28 at 7, p. 16).

            7. August 2015 Charges Against Female Inmate

        In August 2015, a female inmate threw food at Plaintiff. (Doc. # 34-1 at 38-39, pp. 138-

42). Plaintiff wanted to press charges against the inmate, but the charges were never entered in the

system. (Id. at 39, p. 142). Both Phillips and Chief Carter testified that once an employee files a

charge report, the magistrate judge determines “what they need to issue on or what they don’t need

to issue on [it].” (Docs. # 29-2 at 13-14, pp. 48, 51; 29-4 at 35, p. 134). In other words, their

involvement ends once the magistrate judge screens the charges. (Id.). Again, Plaintiff did not

complain to any of his supervisors about the charges not appearing in the system. (Doc. # 34-1 at

39, p. 142).

            8. November 2015 Disagreement with Cunningham

        During the November 2-3, 2015 night shift, Plaintiff and Cunningham had a disagreement

about who would perform dispatch duties and who would make rounds in the jail. (Doc. # 34-1 at

61-62, pp. 231-36). Cunningham called Phillips to report the incident. (Doc. # 34-14) On




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November 4, 2015, Phillips prepared the following memorandum documenting Cunningham’s

call:

        I received a call on my personal phone from dispatcher Lois Cunningham. This was
        around 12:30 a.m. on Tuesday, November 3, 2015. Ms. Cunningham said
        Dispatcher Kenneth Watkins was being aggressive towards her, speaking to her in
        “that voice.” Ms. Cunningham had come to work before Mr. Watkins so Ms.
        Cunningham sat at the dispatch desk. Mr. Watkins came in and told her to move.
        She said no. He said “I’m not playing, move.” She again said no. He said it once
        more aggressively the third time but she didn’t relent. Ms. Cunningham said Mr.
        Watkins spent the rest of the time out in the shed in the dark. Ms. Cunningham said
        she wasn’t afraid of him but did say he seems to be getting worse.

(Doc. # 34-14 at 3). Attached to Phillips’s memorandum is a Disciplinary Action Form listing

Phillips and Chief Carter as Plaintiff’s supervisors. (Id. at 2). The form describes the incident as

“insubordination” because Plaintiff said he would not work the jail and recommends termination

as the next action step. (Id.). However, the Disciplinary Action Form is not dated or signed, and it

does not indicate what type of disciplinary action was actually taken. (Id.). Phillips never

confronted Plaintiff about the incident. (Doc. # 34-1 at 62, p. 233). In fact, Phillips denied

preparing a write-up or instituting any further discipline against Plaintiff other than documenting

Cunningham’s call in the written memorandum quoted above. (Doc. # 29-4 at 27, p. 101).

        Plaintiff testified that because of this document, Chief Carter summoned Plaintiff to his

office and threatened to fire him. (Doc. # 34-1 at 61, pp. 232-33). Plaintiff asked him to review the

video and logs from that evening, which showed that Plaintiff performed his rounds during that

shift. (Id. at 61 at 233). To be sure, the log reveals that Plaintiff, employee number 808, worked

the jail and checked on the inmates throughout the evening. (Doc. # 34-16). Because Plaintiff never

heard from Chief Carter again, he assumed that Chief Carter reviewed the video and the logs and

then dropped the issue. (Doc. # 34-1 at 62, p. 233). However, Chief Carter does not recall speaking




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with Plaintiff about this incident or reviewing any video or logs from the night shift. (Doc. # 29-2

at 11, pp. 39-40).

            9. January 2016 Rescinding Plaintiff’s Discipline of an Inmate

       In January 2016, Watkins approached an inmate and told her to remove a blanket from her

face to make sure she was breathing properly. (Doc. # 34-1 at 42-43, pp. 153, 159). The inmate

did not comply and continued to pull the blanket over her head. (Id. at 42, p. 153). As a result,

Plaintiff took the blanket away, wrote the inmate up, and instituted a 24-hour lockdown

disciplinary action. (Id.). On January 20, 2016, Phillips left Plaintiff a written message in the CAD

input system notifying him of her decision to rescind the 24-hour lockdown. (Doc. # 34-8). The

message read as follows:

       Kenneth, I read what you said on the disciplinary report. I watched video and spoke
       to her. Considering all avenues I put her on lockdown for less than 24 hours as well
       as my warning to her. I do have a concern when you approach a female who is
       asleep and then pull covers off of her without warning. If you have any questions
       you can ask me.

(Id.). Plaintiff did not complain to any of his supervisors that Phillips rescinded his disciplinary

action. (Doc. # 34-1 at 44, pp. 161-62).

       Although Plaintiff testified that other female jailor/dispatchers did not have their discipline

of inmates rescinded (Id. at 43-44, pp. 160-61), Phillips explained that an employee’s discipline

action will be rescinded if they fail to follow protocol. (Doc. # 29-4 at 35, p. 133). For example,

she recalled an instance where Green, a female jailor/dispatcher, imposed a lockdown which was

later rescinded because she did not fill out the correct form. (Id. at 35, pp. 133-34).

       D.      Primary Disciplinary Actions Leading to Plaintiff’s Departure from the City

       The Rule 56 record indicates that Plaintiff experienced only two formal disciplinary actions

during his employment, both of which related to insubordination. The first did not result in any



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tangible change to Plaintiff’s employment; the second led to his termination/resignation. The court

summarizes each of these events below.

           1. October 2014 Laundry Incident

       The City requires all jailor/dispatchers on each shift to do the laundry. (Docs. # 29-4 at 22,

p. 84; 34-18 at 6, p. 14; 34-28 at 7, p. 19). Whatever laundry was left over from the prior shift

would become the responsibility of the jailor/dispatchers working on the next shift. (Docs. # 34-

18 at 6, p. 14; 34-28 at 7, p. 19). Generally, this system meant that the jailor/dispatchers working

the third shift would do most of the laundry. (Id.). In fact, Plaintiff often walked in the laundry

room to find clothes strewn all over the floor from prior shifts. (Doc. # 34-1 at 41, p. 150). But,

neither Plaintiff nor several of his female co-workers recall an instance where another employee

was reprimanded or written-up for failing to perform laundry duties. (Docs. # 34-1 at 76, p. 291;

34-18 at 6, pp. 14-15; 34-15 at 8, pp. 22-23; 34-28 at 7, p. 19).

       On September 8, 2014, Phillips notified Plaintiff that although there was “plenty of blame

to go around,” he was not fulfilling his work obligations with respect to laundry duties. (Docs. #

29-4 at 31, p. 120; 29-10). She also warned Plaintiff that if he did not improve, a disciplinary write-

up would follow. (Doc. # 29-10 at 2). When the issue did not improve, Phillips issued a written

warning to Plaintiff on September 30, 2014. (Doc. # 29-10 at 4). The warning documents Plaintiff’s

explanation that he “hadn’t gotten around to it.” (Id.). Plaintiff also claimed that the washing

equipment was broken. (Docs. # 34-1 at 41, p. 149; 29-10). Phillips listed suspension as the “next

action step.” (Doc. # 29-10 at 4). Plaintiff refused to sign the written warning because he thought

it was “bogus.” (Id.).

       As to Plaintiff’s contention that the washing equipment was broken, Phillips and several

of Plaintiff’s female co-workers confirmed that they experienced instances when they were unable



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to do laundry because the washing machine was broken. (Docs. # 29-4 at 23, p. 85; 34-18 at 6, p.

14; 34-15 at 8, p. 22; 34-28 at 7, p. 19). However, Phillips testified that on the day she confronted

Plaintiff about his failure to do the laundry, she “actually did the wash that morning, and it was

not broken.” (Doc. # 29-4 at 23, p. 85). Furthermore, the City did not replace the washing machine

until June 2015, nearly nine months later. (Doc. # 29-11).

       On October 1, 2014, Phillips attempted to discuss the laundry issue with Plaintiff. (Id. at

5). She perceived him as “disrespectful” and “argumentative” because he was “talking over” her.

(Doc. # 29-4 at 22-23, pp. 85-88). Consequently, she prepared another disciplinary form listing

suspension from September 30, 2014 to October 1, 2014 as her recommended punishment. (Doc.

# 29-10 at 5). On the disciplinary form, she wrote that Plaintiff “became very argumentative and

said it was bogus and that he did laundry whenever he worked the jail.” (Id.). She also wrote, “Mr.

Watkins was arguing with me to the point I had to tell him to be quiet for a moment so I could talk

to him.” (Id. at 6). Under the “Corrective Action Plan” section, Phillips suggested that Plaintiff

“learn[] to control his arguing and listen[] to correction.” (Id.). Additionally, she listed “further

suspension” as the “next action step.” (Id.). Below this section, Phillips noted that Plaintiff “was

not given suspension was counseled by Chief Carter and myself on 10/1/2014.” (Id.).

       Chief Carter testified that he spoke with Plaintiff regarding the “insubordination” that

Phillips reported. (Docs. # 29-2 at 13-14, pp. 48-49; 29-10 at 7). Chief Carter warned Plaintiff that

if he continued to talk over superior officers, he would be fired. (Doc. # 29-2 at 14, p. 49).

However, Chief Carter ultimately decided not to suspend Plaintiff (as Phillips recommended)

because Plaintiff’s brother had recently been killed. (Id. at 5, 13, pp. 19, 48). Instead, Chief Carter

allowed him the opportunity to vent and reminded Plaintiff of his open-door policy. (Id. at 13-14,

pp. 48-49). On October 2, 2014, Phillips prepared another disciplinary form documenting this



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“informal” session of “verbal counseling.” (Doc. # 29-10 at 7). Specifically, Phillips noted that she

and Chief Carter “counseled Mr. Watkins on not arguing or talking over his supervisor and doing

his duties more efficiently. Mr. Watkins was reminded that Chief has open-door policy.” (Id.).

         Although not documented in his disciplinary records, Plaintiff testified that he complained

to Chief Carter for a second time that he did not know “what it’s like being a male up in there,

we’re treated differently.” (Doc. # 34-1 at 65, p. 247). Again, Carter denied that Plaintiff ever

complained to him about being treated differently due to his race or gender, but the court resolves

this dispute in Plaintiff’s favor for purposes of this motion. (Id. at 13, p. 47).

               2. March 2016 Refusal to Cover Cunningham’s Night Shift

         On Thursday, March 24, 2016, Lindsey informed Phillips that Cunningham required

medical leave until Monday, March 28, 2016. (Doc. # 34-5 at 2). As a result, Phillips needed to

schedule jailor/dispatchers to cover Cunningham’s night shifts from Friday, March 25, 2016 to

Sunday, March 27, 2016. (Id.; Doc. # 29-4 at 16, p. 58). Because Phillips was off-duty when she

received Lindsey’s message, she directed on-duty jailor/dispatchers, Money and Jameson, to make

phone calls asking co-workers to cover the shifts. (Doc. # 34-5 at 2). Money and Jameson

successfully rearranged the shifts on Friday and Sunday—Money agreed to work the second shift

on Friday (her day off), and Jameson agreed to work the third shift on Friday and the second shift

on Saturday. (Id.). Phillips also agreed to work a “turnaround” on Sunday, meaning that she would

cover back-to-back shifts. (Id.). With Phillips’s permission, Money planned to ask Plaintiff to work

the remaining night shift on Saturday4 since his usual days off were Friday and Saturday. (Id. at 2-

3).



         4
           There is conflicting evidence in the Rule 56 record as to whether the remaining shift was on Friday or
Saturday night. The difference is not material for the purposes of the court’s analysis. As discussed below, Plaintiff
refused to cover the remaining night shift, whether that shift was on Friday or Saturday.

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         When Phillips arrived at work at 6:00 a.m. on Friday morning, Plaintiff had just finished

his usual Thursday night shift. (Id.). The following exchange was captured on video in the dispatch

office. (Doc. # 29-14). Phillips asked Plaintiff whether Money and/or Jameson had approached

him about working the Saturday night shift. (Id.; 29-14 Video of Conversation). In the presence of

another employee, Plaintiff immediately refused to cover the shift because he did not want to work

six nights that week. (Doc. # 29-14). He talked over Phillips and repeatedly stated, “I’m not coming

in on a Saturday night. It’s not going to happen.” (Id.). Phillips explained that she simply wanted

Plaintiff to act like a “team player” and a “problem solver,” instead of instantly refusing to help

cover the shift. (Id.). Plaintiff then blamed Phillips and other employees for his unhappiness with

his shift schedule, i.e., working turnarounds for Phillips in the past and being denied his prior

request to switch from the third shift to the first. (Id.). Towards the end of the conversation,

Plaintiff offered to work an extra four hours on Sunday instead of covering the Saturday night

shift. (Id.).

         Phillips documented the incident in a handwritten memorandum entitled, “Group Two

Offense—Gross Insubordination.” (Doc. # 34-5 at 2). Phillips also recorded her recommendation

that Plaintiff be fired through the following language:

         Due to Mr. Watkins obvious gross insubordination, his refusing to work, his
         slanderous accusations that I intended to hire Derrick Mills so Mr. Watkins couldn’t
         be moved to 1st shift, his undermining my authority by verbally attacking me in
         front of my subordinate and accusing me slanderously of keeping him off 1st shift
         and implying that I didn’t have the authority to tell him he couldn’t work 1 st shift,
         his obvious paranoia that two white women have been sabotaging his job at
         Adamsville, Mr. Watkins is obviously unstable and should not be allowed to work
         in this environment, my very strong recommendation is termination of
         employment.

(Id. at 4). Phillips gave the memorandum to Lindsey. (Doc. # 29-4 at 34, p. 130).




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        Shortly after, Lindsey called Plaintiff at home to inform him that Chief Carter wished to

speak to him at the station. (Doc. # 34-1 at 46, pp. 171-72). During the conversation, Chief Carter

discussed Plaintiff’s conduct toward Phillips. (Id. at 52, pp. 193-94; 29-2 at 14, pp. 49-50). He

testified and executed an affidavit confirming that he reviewed the video of Plaintiff’s conversation

with Phillips and determined that Plaintiff was “confrontational, disrespectful, and insubordinate

to his supervisor.” (Docs. # 29-2 at 13, pp. 46-47; 45-1 at 3). As a result, Chief Carter gave Plaintiff

the choice of either resignation or termination. (Doc. # 34-1 at 51, pp. 191-92). Plaintiff testified

that he did not draft his letter of resignation, nor was he given time to consult with his family or

an attorney. (Id. at 66, pp. 250-52).

        Additionally, Plaintiff testified that during this meeting, he again voiced his concerns that

he had been discriminated against on the basis of his gender. (Id. at 66, pp. 250-52). But, as noted

above, Chief Carter does not recall Plaintiff ever complaining that he had been discriminated

against due to his race or gender. (Doc. # 29-2 at 13, p. 47).

        On November 29, 2016, Plaintiff went to City Hall to retrieve a copy of a letter outlining

the reason for his termination. (Doc. # 34-1 at 52, pp. 195-96). Plaintiff believed that the City’s

Human Resources Officer, Janet Gardner, called the police to supervise the visit because an officer

suddenly appeared. (Id.). However, Plaintiff admitted that Gardner did not tell him she called the

police, he did not hear Gardner call the police, and he did not interact with the police at any time

during the visit. (Id. at 52-53, pp. 196-198). Furthermore, the police station is located across the

street from City Hall. (Id. at 53, p. 198).

II.     Standard of Review

        Under Federal Rule of Civil Procedure 56, summary judgment is proper “if the pleadings,

depositions, answers to interrogatories, and admissions on file, together with the affidavits, if any,



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show that there is no genuine issue as to any material fact and that the moving party is entitled to

judgment as a matter of law.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). The party

asking for summary judgment always bears the initial responsibility of informing the court of the

basis for its motion and identifying those portions of the pleadings or filings which it believes

demonstrate the absence of a genuine issue of material fact. Id. at 323. Once the moving party

has met its burden, Rule 56 requires the non-moving party to go beyond the pleadings and -- by

pointing to affidavits, or depositions, answers to interrogatories, and/or admissions on file --

designate specific facts showing that there is a genuine issue for trial. Id. at 324.

       The substantive law will identify which facts are material and which are irrelevant. See

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986) (“Anderson”). All reasonable doubts

about the facts and all justifiable inferences are resolved in favor of the non-movant. See Allen v.

Bd. of Pub. Educ. for Bibb Cty., 495 F.3d 1306, 1314 (11th Cir. 2007); Fitzpatrick v. City of

Atlanta, 2 F.3d 1112, 1115 (11th Cir. 1993). A dispute is genuine “if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Anderson, 477 U.S. at 248. If

the evidence is merely colorable, or is not significantly probative, summary judgment may be

granted. See id. at 249.

       When faced with a “properly supported motion for summary judgment, [the nonmoving

party] must come forward with specific factual evidence, presenting more than mere allegations.”

Gargiulo v. G.M. Sales, Inc., 131 F.3d 995, 999 (11th Cir. 1997). As Anderson teaches, under

Rule 56(c) a plaintiff may not simply rest on her allegations made in the complaint; instead, as the

party bearing the burden of proof at trial, she must come forward with at least some evidence to

support each element essential to her case at trial. See Anderson, 477 U.S. at 252. “[A] party

opposing a properly supported motion for summary judgment ‘may not rest upon the mere



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allegations or denials of his pleading, but . . . must set forth specific facts showing that there is a

genuine issue for trial.’” Id. at 248 (citations omitted).

       Summary judgment is mandated “against a party who fails to make a showing sufficient to

establish the existence of an element essential to that party’s case, and on which that party will

bear the burden of proof at trial.” Celotex Corp., 477 U.S. at 322. “Summary judgment may be

granted if the non-moving party’s evidence is merely colorable or is not significantly probative.”

Sawyer v. Sw. Airlines Co., 243 F. Supp. 2d 1257, 1262 (D. Kan. 2003) (citing Anderson, 477 U.S.

at 250-51).

       “[A]t the summary judgment stage the judge’s function is not himself to weigh the evidence

and determine the truth of the matter but to determine whether there is a genuine issue for trial.”

Anderson, 477 U.S. at 249. “Essentially, the inquiry is ‘whether the evidence presents a sufficient

disagreement to require submission to the jury or whether it is so one-sided that one party must

prevail as a matter of law.” Sawyer, 243 F. Supp. 2d at 1262 (quoting Anderson, 477 U.S. at 251-

52); see also LaRoche v. Denny’s, Inc., 62 F. Supp. 2d 1366, 1371 (S.D. Fla. 1999) (“The law is

clear . . . that suspicion, perception, opinion, and belief cannot be used to defeat a motion for

summary judgment.”).

III.   Analysis

       After careful review, and for the reasons explained below, the court concludes that

Defendants are entitled to summary judgment on all of Plaintiff’s claims.

       A.      Defendants Are Entitled to Summary Judgment on Plaintiff’s Race and
               Gender Discrimination Claims

       The Eleventh Circuit has held that Section 1983 “is a vehicle for bringing civil lawsuits

that provides every person with the right to sue those acting under color of state law for violations

of federal constitutional and statutory provisions.” Bush v. Houston Cty. Comm'n, 414 F. Appx

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264, 266 (11th Cir. 2011) (internal quotations omitted). Indeed, the Equal Protection Clause of the

Fourteenth Amendment prohibits intentional race and gender discrimination in public

employment. Id. (citing Williams v. Consolidated City of Jacksonville, 341 F.3d 1261, 1269 (11th

Cir.2003); Cross v. State of Ala., 49 F.3d 1490, 1507 (11th Cir.1995)). Section 1981 also prohibits

“intentional race discrimination in the making and enforcement of public and private contracts,

including employment contracts.” Ferrill v. Parker Grp., Inc., 168 F.3d 468, 471 (11th Cir. 1999).

But, Section 1981 “does not provide an implicit cause of action against state actors.” Bryant v.

Jones, 575 F.3d 1281, 1288 n. 1 (11th Cir. 2009) (citing Butts v. County of Volusia, 222 F.3d 391,

394-95 (11th Cir. 2000)). Instead, Section 1983 “constitutes the exclusive federal remedy for

violation by state actors of the rights guaranteed under § 1981.” Id.

        In the employment context, discrimination claims brought under the Equal Protection

Clause, Section 1981, and Section 1983 are subject to the same elements of proof and analytical

framework as Title VII claims. Bush, 414 F. Appx at 266. Discrimination claims may be

“categorized as either mixed-motive or single-motive claims.” Quigg v. Thomas Cty. Sch. Dist.,

814 F.3d 1227, 1235 (11th Cir. 2016). In this case, because it is unclear whether Plaintiff alleges

mixed-motive race and gender discrimination claims or both mixed-motive and single-motive

claims, the court separately examines Plaintiff’s allegations under each theory.

             i.   Plaintiff’s Single-Motive Discrimination Claims Fail as a Matter of Law

        Where a discrimination claim relies on circumstantial evidence5 (as is the case here), a

plaintiff may meet his burden by satisfying the burden-shifting framework set out in McDonnell

Douglas Corp. v. Green, 411 U.S. 792 (1973). Under this framework, a plaintiff first has the



        5
           When claims are based on circumstantial evidence, the evidence “suggests, but does not prove, a
discriminatory motive.” Wilson v. B/E Aerospace, Inc., 376 F.3d 1079, 1086 (11th Cir. 2004). By contrast, direct
evidence is evidence proving, without inference, that illegal reasons motivated the adverse employment action. Id.

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burden of establishing a prima facie case of discrimination, which creates a rebuttable presumption

that the employer acted illegally. Id. Once a plaintiff has presented a prima facie case (and, thereby,

has raised the presumption of discrimination), the burden of production shifts to the employer to

articulate a legitimate, nondiscriminatory reason for its actions. Id. If the employer satisfies that

burden by articulating such a reason, then the presumption of discrimination falls away and the

burden again shifts to the plaintiff to offer evidence sufficient for a reasonable jury to conclude

that the employer’s supposedly legitimate reason is merely a pretext for illegal discrimination. Id.

at 1326. If the proffered reason is one that might motivate a reasonable employer, a plaintiff cannot

recast the reason, but must meet it head on and rebut it. Chapman v. AI Transp., 229 F.3d 1012,

1030 (11th Cir. 2000) (en banc). “If the plaintiff does not proffer sufficient evidence to create a

genuine issue of material fact regarding whether each of the defendant employer’s articulated

reasons is pretextual, the employer is entitled to summary judgment on the plaintiff’s claim.” Id.

at 1024-25.

       To establish a prima facie case of discrimination, a plaintiff must show: “(1) he is a member

of a protected class; (2) he was qualified for the position; (3) he suffered an adverse employment

action; and (4) he was replaced by a person outside his protected class or was treated less favorably

than a similarly-situated individual outside his protected class.” Maynard v. Bd. of Regents, 342

F.3d 1281, 1289 (11th Cir. 2003). Here, the majority of the parties’ prima facie arguments revolve

around the third and fourth prongs of the test. This is not surprising. Plaintiff is a member of a

protected class, and he worked the jailor/dispatcher position before his employment ended. The

court focuses on these third and fourth prong arguments and, for the reasons explained below,

concludes that Plaintiff has failed to establish a prima facie case of race and gender discrimination.




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                       1. Adverse Employment Action

        Defendants concede that Plaintiff’s termination/resignation from the City constitutes an

adverse employment action.6 (Docs. # 29 at 18; 45 at 18). But, they argue that Plaintiff’s other

non-termination discrimination claims do not. The court addresses Plaintiff’s non-discharge

adverse employment action assertions below.

        In addition to his termination/resignation from the City, Plaintiff argues that the following

actions of Phillips and the City, viewed cumulatively, constitute an adverse employment action:

    •   Phillips initially assigning Plaintiff to the second shift due to Chief Carter’s preference to
        have at least one male working the first and second shifts.

    •   Phillips reassigning Plaintiff to the third shift after Money asked to switch shifts following
        the book-throwing incident.

    •   Phillips’s alleged instruction to Fields and Jameson to watch Plaintiff on the third shift.

    •   Phillips’s March 2014 memorandum outlining problem areas in Plaintiff’s job performance
        during the night shift.

    •   Phillips’s “insubordination” memo following Cunningham’s report that he did not perform
        his jailor duties during the November 2, 2015-November 3, 2015 night shift.

    •   Phillips’s report to Chief Carter that Plaintiff was insubordinate following his failure to do
        the laundry, even though according to Plaintiff, it was impossible to do the laundry because
        the machine was broken.

    •   The City’s maintenance of “false write ups in his personnel file after documented evidence
        of being false.”

    •   Phillips’s report to Chief Carter that Plaintiff was insubordinate when he refused to cover
        Cunningham’s Saturday, March 26, 2016 night shift, even though he offered to work an
        extra four hours during another shift.

    •   The City’s alleged failure to enter into the system Plaintiff’s charges against the female
        inmate that threw food at him.

    •   Phillips’s decision to rescind Plaintiff’s 24-hour lockdown of an inmate.

        6
          Because Defendants have not asserted that Plaintiff’s departure from the City was voluntary, the court
assumes that Plaintiff’s resignation amounts to an adverse employment action.

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   •   Phillips’s failure to discipline Mills further for hanging the T-shirt displaying Plaintiff’s
       face and the word “inmate.”

   •   Lindsey informing Plaintiff that the City was “trying to get away from [hiring family
       members].”

(Doc. # 36 at 29-30).

       As an initial matter, Plaintiff’s assertion that an employer’s allegedly adverse actions

should be considered cumulatively is off the mark. In support of this argument, Plaintiff relies

solely on Wideman v. Wal-Mart Stores, Inc., 141 F.3d 1453 (11th Cir. 1998), which considered

whether Title VII’s protection against retaliation extends to adverse actions that fall short of

ultimate employment decisions. Id. at 1456. But, the standard for what constitutes an adverse

employment action in the discrimination context differs from the standard applied in the retaliation

context. See Mills v. Cellco P'ship, 376 F. Supp. 3d 1228, 1244 (N.D. Ala. 2019) (citing Burlington

N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 68 (2006)). Here, for purposes of Plaintiff’s race and

gender discrimination claims, the controlling standard is whether the employer’s action

“impact[ed] the terms, conditions, or privileges of the plaintiff’s job in a real and demonstrable

way.” Davis v. Town of Lake Park, 245 F.3d 1232, 1239 (11th Cir. 2001).

       Indeed, the Eleventh Circuit has made clear that with regard to discrimination claims, “not

all conduct by an employer negatively affecting an employee constitutes adverse employment

action.” Davis, 245 F.3d at 1239. “An adverse employment action is an ultimate employment

decision, such as discharge or failure to hire, or other conduct that alters the employee's

compensation, terms, conditions, or privileges of employment, deprives him or her of employment

opportunities, or adversely affects his or her status as an employee.” Van Voorhis v. Hillsborough

Cnty. Bd. of Cnty. Comm'rs, 512 F.3d 1296, 1300 (11th Cir. 2008) (quoting Gupta v. Florida. Bd.

of Regents, 212 F.3d 571, 587 (11th Cir. 2000) (internal quotations omitted). More specifically, an

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employee must show “a serious and material change in the terms, conditions, or privileges of

employment.” Davis, 245 F.3d at 1239 (emphasis in original). While “[e]vidence of direct

economic consequences” is not always required to establish an adverse employment action, “the

asserted impact cannot be speculative and must at least have a tangible adverse effect on the

plaintiff’s employment.” Id. “Moreover, the employee's subjective view of the significance and

adversity of the employer's action is not controlling; the employment action must be materially

adverse as viewed by a reasonable person in the circumstances.” Id.

        Simply put and in the words of Defendants, the list of incidents cited by Plaintiff amounts

to little more than “unextraordinary disagreements with co-workers and supervisors regarding

scheduling, work duties, and complying with supervisor’s instructions.” (Doc. # 29 at 19).

Plaintiff’s subjective view that these incidents were unfair or unwarranted does not in itself convert

them into actionable adverse employment actions. Davis, 245 F.3d at 1239. To be clear, Phillips’s

report to Chief Carter that Plaintiff was insubordinate when he refused to cover Cunningham’s

night shift directly resulted in his termination/resignation from the City. But, outside of this report

and the actual termination/resignation, there is no evidence in the Rule 56 record that these other

events led to a reduction in pay, a loss of benefits, a work suspension, a demotion, or any other

similar deprivation of an employment opportunity.

        Two categories of employment actions contained in Plaintiff’s list warrant further

discussion. First, Plaintiff did not suffer an adverse employment action when Phillips (1) did not

initially assign him to the third shift as he requested7 and (2) reassigned him to the third shift when



         7
           Although Phillips testified that Plaintiff was likely assigned to the second shift due to Chief Carter’s
preference to have one male jailor/dispatcher working the first and second shifts (Doc. # 29-4 at 9, p. 29), she also
explained that Chief Carter wanted the female and male inmates to feel more comfortable being searched and
processed by a jailor of their own sex. (Id. at 8-9, pp. 28-29). This explanation, therefore, does not suggest a
discriminatory gender-based motive to assign Plaintiff to a different shift than the shift he requested.


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another employee asked to change shifts. There is no evidence in the Rule 56 record that the three

shifts differed with respect to salary, job conditions, or employment opportunities. Thus, Plaintiff’s

shift assignments did not negatively affect his compensation or the terms, conditions, or privileges

of his employment.8 Because the shift assignments did not have a tangible adverse effect on his

employment, Plaintiff’s disappointment in not working the shift that was most convenient for him

does not qualify as an adverse employment action.

        Second, written or verbal criticisms of an employee’s job performance that do not lead to

tangible job consequences are insufficient to constitute an adverse employment action. Davis, 245

F.3d at 1241. The following actions fall within the scope of a supervisor’s appropriate criticism to

a subordinate: (1) Phillips’s March 2014 memorandum to Plaintiff outlining problem areas in his

job performance during the night shift; (2) Phillips’s “insubordination” write-up following

Cunningham’s report that he did not perform his jailor duties during the November 2, 2015-

November 3, 2015 night shift; and (3) Phillips’s CAD message notifying Plaintiff of her decision

to rescind his 24-hour lockdown of an inmate. There is no Rule 56 evidence indicating that these

events resulted in any negative job consequences for Plaintiff. In fact, Phillips did not report any

of these events up the chain to Chief Carter, who possessed the ultimate authority to suspend or

fire an employee. (Docs. # 29-2 at 5, p. 14; 29-4 at 24, p. 89). Furthermore, the fact that this

information was maintained in Plaintiff’s personnel file does not sway the court’s analysis because

“[e]mployer criticism, like employer praise, is an ordinary and appropriate feature of the

workplace.” Davis, 245 F.3d at 1242.

        On the other hand, Phillips’s report to Chief Carter that Plaintiff was insubordinate

following his failure to do the laundry is a closer question. This is because Phillips’s report (at the


        8
           Moreover, other white female employees were not always assigned the shifts they wanted. (Doc. # 34-1 at
20, p. 26). Additionally, in August 2015, Lindsey offered Plaintiff his choice of shifts. (Doc. # 34-9).

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very least) resulted in a formal meeting with Chief Carter, who possessed the authority to

implement serious and material disciplinary measures. However, Chief Carter ultimately decided

not to suspend Plaintiff, notwithstanding Phillips’s recommendation. (Doc. # 29-2 at 5, 13, pp. 19,

48). Instead, Chief Carter allowed Plaintiff an opportunity to vent because Plaintiff’s brother had

recently passed away. (Id. at 13-14, pp. 48-49). There is no Rule 56 evidence suggesting that

Plaintiff suffered any employment consequences beyond this conversation with Chief Carter. As

such, the court concludes that Phillips’s report does not constitute an adverse employment action.

See Summerlin v. M & H Valve Co., 167 F. Appx. 93, 97 (11th Cir. 2006) (“The reprimand of an

employee does not constitute an adverse employment action when the employee suffers no tangible

harm as a result.”).

         In any event, because Defendants have conceded that Plaintiff suffered an adverse

employment action via his termination/resignation from the City, Plaintiff has satisfied the third

element of his prima facie case.

                         2. Rule 56 Evidence of Similarly Situated Employees9

         The court next addresses the fourth prong of the McDonnell Douglas framework. A

plaintiff must show that his employer treated similarly situated employees outside his protected

class -- “comparators” -- more favorably. Wood v. K-Mart Corp., 273 Fed. Appx. 806, 807 (11th

Cir. 2008). As the Eleventh Circuit recently clarified, to be a valid comparator, an employee must

be similarly situated “in all material respects,” but need not be “nearly identical” to the plaintiff.

Lewis, 918 F.3d at 1218-19. In determining whether a comparator is similarly situated “in all



          9
            Although both parties rely on the McDonnell Douglas framework at various points in their briefing (Docs.
# 29 at 16-17; 36 at 35-35), neither party discusses whether similarly situated employees exist for the purposes of
Plaintiff’s race or gender discrimination claims. Nevertheless, the court has carefully examined the Rule 56 record to
parse out potential comparator evidence, even though this should be the job of counsel, not the court. Counsel are
cautioned that in the future, another court (or this one) may not endeavor to fill the gaps in counsel’s briefing as the
court has done here.

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material aspects” to the plaintiff, courts consider whether a comparator: (1) engaged in the same

basic conduct or misconduct as the plaintiff; (2) was subject to the same employment policies and

guidelines as the plaintiff; (3) was under the jurisdiction of the same supervisor as the plaintiff;

and (4) shared the plaintiff’s experience and disciplinary history. Id. at 1227-28; see also Davis v.

Dunn Const. Co., 872 F. Supp. 2d 1291, 1310 (N.D. Ala. 2012); Gaines v. Johnson, 44 F. Supp.

3d 1169, 1178 (N.D. Ala. 2014).

         The crux of Plaintiff’s claims is that other white female jailor/dispatchers were treated more

favorably in that they were not disciplined to the same degree or forced to resign following similar

or worse misconduct. The second and third factors appear to be met here. Plaintiff and the white

female employees at issue (Lavies, Money, Fields, Jameson, and Jackson) all had the same

jailor/dispatcher position with the same job duties and were all under the jurisdiction of the same

supervisors—Phillips and Lindsey (who both had the authority to recommend suspension and

termination) and Chief Carter (who had the authority to implement suspension and termination).

(Docs. # 29-2 at 5, p. 14; 29-4 at 24, p. 89). There is nothing in the Rule 56 record to suggest that

any employee had more or fewer responsibilities than the others. But, Plaintiff’s comparator

arguments enjoy no other success.

         Having concluded that the only actionable adverse employment action Plaintiff suffered

was his termination/resignation from the City following Phillips’s report of insubordination, the

court’s comparator analysis is limited to those employees who may have committed similar acts

of insubordination or other misconduct and were not disciplined to the same degree or forced to

resign (if any such employees exist).10 After carefully examining the Rule 56 record, the court has


         10
            Regarding Phillips’s report of Plaintiff’s insubordination following the laundry incident, Plaintiff asserts
that other white female employees also failed to complete their laundry duties but did not receive a write-up or any
other discipline. Even accepting Plaintiff’s assertion as true, the court has already determined that write-ups,
reprimands, and other forms of employer criticism that did not have a tangible effect on Plaintiff’s employment do

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identified three white female employees with employment histories involving misconduct: Dierdre

Lavies, Elizabeth Money, and Leah Fields. However, for the reasons explained below, these white

female employees are not appropriate comparators because (1) they are not similarly situated to

Plaintiff in that they did not engage in the same basic misconduct and (2) even if they had

committed similar acts of insubordination, they were not treated more favorably because they were

all disciplined or terminated following their misconduct.

        Beginning with Lavies, the Rule 56 evidence shows that Lavies was terminated after

making inappropriate racial statements to Lois Cunningham, a female African-American

jailor/dispatcher. (Doc. # 29-4 at 14, p. 49; 29-2 at 7-8, pp. 24-27). Contrary to Plaintiff’s belief,

both Phillips and Chief Carter confirmed that she was not fired for hitting a white employee. (Id.).11

While Lavies statements certainly qualify as reprehensible misconduct, she did not engage in “the

same basic misconduct” as Plaintiff because she was not insubordinate to a supervisor. See Lewis,

918 F.3d at 1227-28. Thus, she is not a proper comparator for purposes of Plaintiff’s race and

gender discrimination claims. Even so, Lavies was not treated more favorably than Plaintiff

because she was fired as a result of her misconduct.

        Likewise, Money is not a proper comparator for Plaintiff. The Rule 56 record indicates that

the City hired Money in 2009, at least four years before it hired Plaintiff. (Doc. # 20). During

Money’s lengthy employment, she was written up, counselled, and/or disciplined for various

instances of work-related misconduct. Crucially, Money’s disciplinary record shows that in 2010,



not constitute a tangible employment action for the purposes of Plaintiff’s single-motive race and gender
discrimination claims. Thus, the court has limited its comparator analysis accordingly.
          11
             Furthermore, Plaintiff’s assertion that Money received a lighter punishment after throwing the book at
Plaintiff because he is an African-American male, whereas Lavies, who hit a white employee, was fired is off the
mark. (Doc. # 34-1 at 25, pp. 86-88). The undisputed record evidence (as opposed to Plaintiff’s rank speculation)
indicates that Lavies was fired after making racial comments to a female African-American employee, not hitting a
white employee. (Doc. # 29-4 at 14, p. 49; 29-2 at 7-8, pp. 24-27).

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she was disciplined and ultimately fired for committing several “Group Two Offenses” including

failing to log dispatch calls and sleeping on the job. (Id.). Money’s employment was subsequently

reinstated after a hearing, though the Rule 56 record does not indicate when. (Doc. # 29-4 at 11-

12, pp. 40-41). As Phillips noted in her memorandum recommending Plaintiff’s termination, gross

insubordination is also a “Group Two Offense.” (Doc. # 29-14 at 2). Although Money was not

insubordinate to her supervisors, she was fired for committing two different Group Two Offenses.

So, even assuming that Money engaged in the same basic misconduct as Plaintiff, Lewis, 918 F.3d

at 1227-28, she was not treated more favorably.

       Money’s disciplinary record also contains other write-ups and verbal counseling forms

related to less severe misconduct (such as being rude to civilians and divulging private case

information outside of the department.) (Doc. # 20). Notably, on January 18, 2014, Elizabeth

Money threw a book at Plaintiff’s back while in the dispatch office during the second shift. (Doc.

# 34-1 at 23-25, pp. 80-85; 34-10). With Chief Carter’s approval, the City ultimately suspended

Money from January 25, 2014 to January 28, 2014. (Doc. # 29-4 at 9-10, pp. 32-33; 34-10; 29-2

at 5, pp. 13-14). These additional events do not involve Money being insubordinate to a supervisor.

And, the Rule 56 record does not suggest that throwing a book at a coworker constitutes a Group

Two Offense, rendering termination the appropriate disciplinary measure. Nevertheless, the City

did not treat Money more favorably than Plaintiff—she was suspended. That is, Chief Carter

disciplined her appropriately for an offense that the summary judgement evidence indicates was

less severe than a Group Two Offense.

       Finally, it is undisputed that Fields had a sexual relationship with a male inmate who

eventually committed suicide; consequently, the City gave her a choice between resignation and

termination. (Doc. # 29-2 at 9, pp. 30-31). Again, not only did Fields engage in a different type of



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misconduct than Plaintiff, but she was given the same choice between resignation and termination

that Plaintiff was given. Because Plaintiff has failed to show the existence of a similarly situated

employee who was treated more favorably, he has not established a prima facie case of race or

gender discrimination under the McDonnell Douglas framework. Consequently, summary

judgment is appropriate on Plaintiff’s single-motive race and gender discrimination claims.

Holifield v. Reno, 115 F.3d 1555, 1562 (11th Cir. 1997).

                     3. Plaintiff Has Failed to Establish Pretext

       Even assuming Plaintiff could establish a prima facie case of race and gender

discrimination (and, to be clear, he cannot), Defendants’ Motions are due to be granted on his

single-motive discrimination claims for a separate reason: he cannot show that the reason

Defendants have articulated for his termination/resignation from the City is a pretext for

discrimination.

       Again, once a prima facie case is established, an employer has the burden to articulate a

legitimate, nondiscriminatory reason for the employment decision. Wilson, 376 F.3d at 1087.

Analysis of whether the employer has met this burden involves no credibility determination, St.

Mary’s Honor Center v. Hicks, 509 U.S. 502, 509 (1993), and has been characterized as

“exceedingly light,” Perryman v. Johnson Products Co., 698 F.2d 1138, 1142 (11th Cir. 1983).

After an employer articulates one or more legitimate, nondiscriminatory reasons for the

employment action, a plaintiff must show that the proffered reason was a pretext for illegal

discrimination. Tex. Dep’t of Cmty. Affairs v. Burdine, 450 U.S. 248, 256 (1981). If the proffered

reason is one that might motivate a reasonable employer, a plaintiff cannot simply recast the

reason, but must “meet that reason head on and rebut it.” Chapman, 229 F.3d at 1030. “If the

plaintiff does not proffer sufficient evidence to create a genuine issue of material fact regarding



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whether each of the defendant employer’s articulated reasons is pretextual, the employer is entitled

to summary judgment on the plaintiff’s claim.” Id. at 1024-25.

       Defendants argue that, even if Plaintiff had established a prima facie case, the City had a

legitimate, nondiscriminatory reason to end Plaintiff’s employment—his insubordination to

Phillips, his supervisor, when he refused to cover a co-worker’s night shift, as captured on video.

(Doc. # 29 at 20). Insubordination is obviously a legitimate, nondiscriminatory reason which might

motivate a reasonable employer to fire an employee. See Veasy v. Sheriff of Palm Beach Cty., 746

F. Appx. 816, 819 (11th Cir. 2018) (concluding that employer demonstrated a legitimate,

nondiscriminatory reason for firing employee where employer identified “a long line of

insubordination offenses”). The court therefore must determine whether Plaintiff has presented

evidence to create a triable issue of fact regarding pretext. He has not.

       The court readily finds that the City’s proffered reason for ending Plaintiff’s employment

is supported by undisputed facts in the Rule 56 record. Indeed, the video recording of Plaintiff’s

conversation with Phillips when he refused to cover Cunningham’s night shift plainly shows that

he repeatedly talked over Phillips and unequivocally stated (at least initially) that he would not

work that particular shift. (Doc. # 29-14). Plaintiff also blamed Phillips and several of his co-

workers for his unhappiness with his shift assignments. (Id.). Further, the entire conversation took

place in front of another jailor/dispatcher, which understandably caused Phillips to conclude

Plaintiff had undermined her authority in the presence of a subordinate. (Id.). In an attempt to

recast this video evidence, Plaintiff asserts that he did, in fact, say he would work an extra four

hours on Sunday. (Doc. # 36 at 31-32). But, Plaintiff made this statement at the end of the

conversation and only after he talked over Phillips and angrily refused to cover the shift. (Id.).




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Plaintiff also points to Phillips’s memorandum to Chief Carter recommending termination. (Doc.

# 36 at 30, 35). The memorandum included the following explanation:

       Due to Mr. Watkins obvious gross insubordination, his refusing to work, his
       slanderous accusations that I intended to hire Derrick Mills so Mr. Watkins couldn’t
       be moved to 1st shift, his undermining my authority by verbally attacking me in
       front of my subordinate and accusing me slanderously of keeping him off 1st shift
       and implying that I didn’t have the authority to tell him he couldn’t work 1 st shift,
       his obvious paranoia that two white women have been sabotaging his job at
       Adamsville, Mr. Watkins is obviously unstable and should not be allowed to
       work in this environment, my very strong recommendation is termination of
       employment.

(Doc. # 34-5 at 4) (emphasis added). Plaintiff attempts to make much of the highlighted language.

But, that language speaks only to Plaintiff’s characterization of his treatment during his

employment. It does not, as Plaintiff asserts, show that the City had a discriminatory motive (based

on his race or gender) in ending his employment. See Holifield, 115 F.3d at 1565 (noting that the

inquiry into pretext focuses on the perception of the employer, not the employee). In other words,

this memorandum does not suggest (1) that the City’s proffered reason of Plaintiff’s

insubordination is pretextual or (2) that Phillips recommended termination because Plaintiff is an

African-American male. For these reasons, Plaintiff has not met the City’s proffered reason (and

video evidence) for his termination/resignation “head on and rebut[ted]” it. Chapman, 229 F.3d at

1030. As such, the court finds that Plaintiff has failed to provide evidence creating a genuine issue

of material fact regarding whether the City’s articulated reason is pretextual. See id. at 1024-25.

         ii.   Plaintiff’s Mixed-Motive Discrimination Claims Fail as a Matter of Law

        “[A]n adverse employment action motivated by both legal and illegal reasons constitutes

actionable discrimination under Title VII.” Quigg, 814 F.3d at 1236 (citing Price Waterhouse v.

Hopkins, 490 U.S. 228 (1989)). A plaintiff “can succeed on a mixed-motive claim by showing that

illegal bias, such as bias based on sex or gender, ‘was a motivating factor for’ an adverse



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employment action, ‘even though other factors also motivated’ the action.” Quigg, 814 F.3d at

1235 (quoting 42 U.S.C. § 2000e–2(m)). A plaintiff “can prove a mixed-motive case with direct

or circumstantial evidence.” Id. at 1237 (citing Desert Palace, Inc. v. Costa, 539 U.S. 90, 101-02

(2003)). However, it is improper to use the McDonnell Douglas framework to evaluate a mixed-

motive claim at summary judgment. Id. at 1238. Rather, “[t]o avoid summary judgment, a plaintiff

raising a mixed-motive claim must offer evidence sufficient to convince a jury that: (1) the

[employer] took an adverse employment action against [her]; and (2) a protected characteristic was

a motivating factor for the [employer]’s adverse employment action.” Bowen v. Manheim

Remarketing, Inc., 882 F.3d 1358, 1364 (11th Cir. 2018) (quoting Quigg, 814 F.3d at 1239)

(emphasis in original) (internal quotation marks omitted). “In other words, the court must

determine whether the plaintiff has presented sufficient evidence for a reasonable jury to conclude,

by a preponderance of the evidence, that [his] protected characteristic was a motivating factor for

an adverse employment decision.” Quigg, 814 F.3d at 1239 (internal quotation marks omitted)

(bracketed text omitted).

       Here, the Rule 56 evidence does not suggest that Plaintiff’s race or gender was a motivating

factor for Plaintiff’s termination/resignation. Again, Phillips simply recognized Plaintiff’s

perception that two white women “have been sabotaging his job.” That does not suggest, as

Plaintiff argues, that his “race and gender [were] on Phillips’s mind when she recommended

termination.” (Doc. # 36 at 30). This is particularly evident given the context of Phillips’s

statement. Phillips began her memorandum recommending termination by listing each factor that

led her to believe Plaintiff was insubordinate. (Doc. # 34-5 at 4). Plaintiff’s apparent “paranoia

that two white women have been sabotaging his job” was the last example in a long list of factors

evidencing his insubordination. (Id.). Simply stated, Phillips’s statement does not indicate that



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Plaintiff’s race or gender motivated either her decision to recommend termination to Chief Carter

or Chief Carter’s decision to end Plaintiff’s employment. Viewed in the context of the entire

memorandum and the undisputed Rule 56 evidence, Chief Carter heeded Phillips’s

recommendation to terminate Plaintiff because he (Plaintiff) was insubordinate. As Plaintiff has

failed to provide sufficient evidence for a reasonable jury to conclude that his race or gender was

a motivating factor for his termination/resignation from the City, Defendants are entitled to

summary judgment on his mixed-motive discrimination claims.

        iii.   Plaintiff Has Not Presented a “Convincing Mosaic” of Circumstantial
               Evidence to Support His Race and Gender Discrimination Claims

       Though the parties have not briefed this issue, out of an abundance of caution, the court

also considers whether Plaintiff may proceed with his discrimination claims under a “mosaic”

theory. In Smith v. Lockheed-Martin, the Eleventh Circuit held that a plaintiff does not always

have to establish a prima facie case under the McDonnell Douglas framework to present a triable

Title VII claim of unlawful discrimination. 644 F.3d 1321, 1328 (11th Cir. 2011). A plaintiff can

present a triable issue of discriminatory intent through a convincing mosaic of circumstantial

evidence from which a reasonable jury could find intentional discrimination by the employer. Id.

Or, stated in other words, “[a] ‘convincing mosaic’ may be shown by evidence that demonstrates,

among other things, (1) ‘suspicious timing, ambiguous statements …, and other bits and pieces

from which an inference of discriminatory intent might be drawn,’ (2) systematically better

treatment of similarly situated employees, and (3) that the employer’s justification is pretextual.”

Moore v. Pool Corp., 304 F. Supp. 3d 1148, 1162 (N.D. Ala. 2018) (quoting Lewis v. City of Union

City, 877 F.3d 1000, 1018 (11th Cir. 2017), vacated, 893 F.3d 1352 (11th Cir. 2018) (en banc)).

       In Lockheed-Martin, the circumstantial evidence presented by the plaintiffs was

overwhelming and included: (a) a documented history of disparate treatment of Caucasian and

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African-American employees; (b) a spreadsheet listing employees under investigation by name

and race that the defendant’s disciplinary review committee used to make disciplinary decisions;

and (c) a news program reporting the defendant’s struggles with racism in the workplace, which

focused on violence by a white supremacist. See id. at 1329-40. The Eleventh Circuit concluded,

among other reasons, that the plaintiffs presented a triable race discrimination claim because the

defendant “consciously injected race considerations into its discipline decision making without an

adequate explanation for doing so.” Id. at 1341.

        The Rule 56 evidence regarding potential race and gender discrimination in this case falls

far short of that presented in Lockheed-Martin. Presumably, Plaintiff relies on the list of proposed

adverse employment actions cited above to support his argument that the evidence shows a

“convincing mosaic” of discrimination. (Doc. # 36 at 29-30). However, as previously discussed,

this list amounts to little more than a breakdown of minor disagreements with co-workers and

supervisors. The Rule 56 evidence, viewed in the light most favorable to Plaintiff, at most shows

that Phillips and Plaintiff did not get along at times, and as a result, their personal relationship bled

into her criticism of Plaintiff’s job performance. But, even if Phillips criticized Plaintiff’s job

performance more frequently than she criticized other white female employees, the record does

not suggest, as Plaintiff asserts, that Phillips “tried to have [Plaintiff] fired” (much less that she

tried to have him fired based on a discriminatory motive). 12 (Doc. # 36 at 31-32). In fact, Phillips

only reported the two incidents of insubordination -- following Plaintiff’s failure to do the laundry

and his heated refusal to cover Cunningham’s night shift -- up the chain to Chief Carter (who

retained the ultimate authority to suspend or fire an employee). Crucially, there is nothing

contained within Phillips’s reports of these incidents (nor in any other Rule 56 evidence) that


        12
          For example, the simple fact that Phillips’s criticisms stemmed from Plaintiff’s job performance while
working with female inmates does not imply that Plaintiff’s race or gender motivated her actions.

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suggests she was motivated by Plaintiff’s race or gender in forming her opinion that he was

insubordinate. Without some link between Phillips’s actions and Plaintiff’s race or gender, there

is no evidence, outside of Plaintiff’s “own conclusory say-so,” that would support an inference of

race or gender discrimination. See Flowers v. Troup Cty., Ga., Sch. Dist., 803 F.3d 1327, 1337-38

(11th Cir. 2015); see also Turner v. Fla. Prepaid Coll. Bd., 522 F. Appx. 829, 833 (11th Cir. 2013)

(noting that the plaintiff’s allegation that an employer singled her out and treated her poorly does

not permit a jury to infer intentional discrimination without evidence linking those actions to the

employee’s race).

         Indeed, the Eleventh Circuit has “never suggested that a plaintiff’s generalized averment

that [his] employer treated [him] differently than employees of a different race [or gender] can,

alone, create a ‘convincing mosaic of circumstantial evidence’ from which a jury could find

intentional discrimination.” Turner, 522 F. Appx. at 833 (quoting Smith, 644 F.3d at 1328). The

record evidence does not suggest that any discriminatory reasons motivated (1) Phillips’s decision

(in her capacity as Plaintiff’s direct supervisor) to report his insubordination or (2) Chief Carter’s

decision to end Plaintiff’s employment with the City. Thus, Plaintiff’s race and discrimination

claims cannot survive summary judgment under any analysis,13 including a mosaic theory.


         13
             For these same reasons, the City is due summary judgment on Plaintiff’s Section 1983 claims. Although
there are various ways to establish municipal liability, Plaintiff argues that the City is liable for Chief Carter’s decision
to end Plaintiff’s employment. (Doc. # 36 at 31-32). Indeed, “[m]unicipal liability may be imposed for a single
decision by municipal policymakers under appropriate circumstances.” Cooper v. Dillon, 403 F.3d 1208, 1221 (11th
Cir.2005) (citing Pembaur v. Cincinnati, 475 U.S. 469, 481 (1986)). “Only those municipal officials who have ‘final
policymaking authority’ may by their actions subject the government to § 1983 liability.” City of St. Louis v.
Praprotnik, 485 U.S. 112, 123 (1988) (quoting Pembaur, 475 U.S. at 483)). Plaintiff argues that Chief Carter, who
retained the final decision-making authority with respect to Plaintiff’s termination, inappropriately relied on Phillips’s
recommendations and reports, which he believes were motivated by a discriminatory animus. (Id.). This argument
fails for the reasons discussed in the court’s analysis above. To be sure, the Rule 56 record shows that Phillips reported
(and thoroughly documented) Plaintiff’s insubordinate behavior to Chief Carter on two separate occasions. (Docs. #
29-10; 34-5). Chief Carter reviewed the video evidence of Plaintiff’s final insubordinate event and independently
determined that his behavior constituted a terminable offense. (Docs. # 29-2 at 13, pp. 46-47; 45-1 at 3). So, even if
Chief Carter was a final policy maker, there is no Rule 56 evidence suggesting that he (or the municipality) acted
based on any improper motive in implementing the employment actions that Plaintiff perceived as discriminatory or
retaliatory.

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         B.       Defendants Are Entitled to Summary Judgment on Plaintiff’s Retaliation
                  Claims

         Proceeding under Sections 1981 and 1983, Plaintiff claims that Defendants retaliated

against him following his complaints of race and gender discrimination in violation of the First

and Fourteenth Amendments. (Doc. # 1 at ¶¶ 85-89, 104-108). As an initial matter, Plaintiff

concedes that his “race retaliation” claim in Count Two is due to be dismissed because he never

complained to the City about disparate treatment based on his race. (Doc. # 36 at 36). Additionally,

the parties agree that Plaintiff’s Fourteenth Amendment retaliation claims are due to be dismissed

as a matter of law because freedom from retaliation is constitutionally protected by the First

Amendment, not the Fourteenth Amendment. (Docs. # 29 at 29; 36 at 48). To be sure, “[t]he right

to be free from retaliation is clearly established as a first amendment right and as a statutory right

under Title VII; but no clearly established right exists under the equal protection clause to be free

from retaliation.” See Ratliff v. DeKalb County, 62 F.3d 338, 340 (11th Cir. 1995) (emphasis in

original). Accordingly, the question the court must consider is whether Plaintiff has established a

triable issue of fact with respect to his First Amendment gender-based retaliation claim under

Section 1983.14

         Plaintiff testified during his deposition that he complained to Chief Carter at least three

times that males were treated differently than females in the jail/dispatch department. First, when

Chief Carter questioned Plaintiff in his office regarding the January 2014 book incident, Plaintiff

told Carter that “it’s kind of hard to be a male over [in the jail/dispatch department].” (Doc. # 34-




          14
             Plaintiff devotes a substantial portion of his response brief to analysis of his First Amendment retaliation
claim under the McDonnell Douglas framework for a Title VII claim of retaliation. (Doc. # 36 at 38-45). However,
Plaintiff has not alleged a Title VII claim for retaliation. His only remaining claim is for First Amendment retaliation
arising under Section 1983. As such, the court’s determination of whether Defendants are entitled to summary
judgment on Plaintiff’s retaliation claim does not require consideration of the McDonnell Douglas burden shifting
framework.

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1 at 64, pp. 243-244). Second, following Phillips’s October 2014 laundry insubordination

memorandum, Plaintiff complained to Chief Carter that he did not know “what it’s like being a

male up in there, we’re treated differently.” (Doc. # 34-1 at 65, p. 247). Finally, when Plaintiff left

his employment on March 30, 2016, he again voiced his concerns that he had been discriminated

against based on his gender. (Id. at 66, pp. 250-52). Although Chief Carter denies that Plaintiff

ever complained to him about being treated differently due to his race or gender (Doc. # 29-2 at

13, p. 47), the court must credit Plaintiff’s version of the facts for summary judgment purposes.

          Plaintiff argues that the City and/or Phillips retaliated against him because of these

complaints in the following ways: (1) reassigning Plaintiff to the third shift two months after the

book-throwing incident and his complaint that males were treated differently in his department;

(2) instructing Fields and Jameson to watch Plaintiff on the third shift; (3) issuing Plaintiff a

memorandum outlining problem areas in his job performance during the night shift; (4) preparing

an “insubordination” memo following Cunningham’s report that he did not perform his jailor

duties during the November 2-3, 2015 night shift, even though the logs show that he worked the

jail that evening; (5) reporting Plaintiff for insubordinate conduct following his failure to do the

laundry, even though according to Plaintiff, it was impossible to do the laundry because the

machine was broken; (6) rescinding Plaintiff’s discipline of an inmate; (7) maintaining “false write

ups in his personnel file”; (8) reporting Plaintiff for insubordinate conduct when he refused to

cover Cunningham’s Saturday, March 26, 2016 night shift, even though he offered to work an

extra four hours during another shift; and (9) forcing him to resign partially due to his “obvious

paranoia that two white women have been sabotaging his job at Adamsville.” (Doc. # 36 at 37-38,

43-46).




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          Defendants argue that they are entitled to summary judgment on Plaintiff’s remaining

retaliation claim for three reasons. (Doc. # 29 at 31-41). First, Defendants assert that Plaintiff’s

speech was not constitutionally protected. (Id. at 31-36). Second, they contend that there is no

culpable policy-maker or city-wide custom or policy allowing municipal liability for Plaintiff’s

retaliation claims. (Id. at 36-38). Finally, Defendants maintain that Phillips is due summary

judgment because she was not the “decision-maker” with respect to Plaintiff’s termination, and in

any event, she is immune to Plaintiff’s retaliation claims. (Id. at 38-41). The court addresses each

argument in turn and concludes that summary judgment is appropriate.

            i.   Defendants Are Entitled to Summary Judgment on Plaintiff’s First
                 Amendment Retaliation Claim Because He Has Not Alleged the Deprivation
                 of a Constitutional Right

          It is well-established that a state employer cannot retaliate against a state employee for

engaging in speech that is constitutionally protected under the First Amendment. See Rankin v.

McPherson, 483 U.S. 378, 383 (1987). However, the law recognizes that courts must strike “a

balance between the interest of the [employee], as a citizen, in commenting upon matters of public

concern, and the interest of the state, as an employer, in promoting the efficiency of the public

services it performs through its employees.” Pickering v. Board of Education, 391 U.S. 563, 568

(1968).

          Guided by the tests set forth by the Supreme Court in Pickering v. Board of Education and

Connick v. Myers, 461 U.S. 138 (1983), the Eleventh Circuit has developed a four-part test to

determine whether an employee has suffered retaliation based on speech protected by the First

Amendment. See Akins v. Fulton Cty., Ga., 420 F.3d 1293, 1303 (11th Cir. 2005); see also Bryson

v. City of Waycross, 888 F.2d 1562, 1565 (11th Cir. 1989). An employee must show “(1) that the

speech can be fairly characterized as relating to a matter of public concern; (2) that [his] interests



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as a citizen outweigh the interests of the State as an employer; and (3) that the speech played a

substantial or motivating role in the government’s decision to take an adverse employment action.”

Id. If the plaintiff establishes these elements, the burden then shifts to the employer to prove that

(4) it would have made the same adverse employment decision absent the employee’s speech.

Atkins, 420 F.3d at 1303; see also Bryson, 888 F.2d at 1566. If an employee cannot meet the

threshold showing that his speech relates to a matter of public concern, the inquiry is at an end and

the court need not address the remaining elements of the claim. Eggleston v. Bieluch, 203 F. Appx.

257, 267 (11th Cir. 2006). For the reasons explained below, the court concludes that Plaintiff’s

First Amendment retaliation claim fails because he spoke as an employee about matters of private

interest.

        To fall within the realm of “public concern,” a government employee’s speech must “relate

to a matter of political, social, or other concern to the community.” Atkins, 420 F.3d at 1302

(quoting Watkins v. Bowden, 105 F.3d 1344, 1353 (11th Cir. 1997)). Absent extraordinary

circumstances, First Amendment protection is unavailable when a government employee speaks

in his role as “an employee upon matters only of personal interest.” Connick, 461 U.S. at 147. The

court must therefore determine the purpose of the employee’s speech—that is, whether he spoke

on behalf of the public as a citizen or for himself as an employee. Id. at 146. In so doing, the court

must consider “the content, form, and context of the employee’s speech.” Bryson, 888 F.2d at

1565.

        Defendants argue that Plaintiff’s speech involved nothing more than workplace grievances

that do not raise issues of legitimate public interest. (Doc. # 29 at 31-32). The court agrees. For

example, in Morgan v. Ford, 6 F.3d 750 (11th Cir. 1994), an employee brought a First Amendment

retaliation claim after her termination following her complaints to the Superintendent of Internal



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Affairs and the Office of Fair Employment Practice about workplace sexual harassment. Id. at 755.

She did not attempt to involve the public in any manner. Id. The court concluded that the

employee’s speech was not a matter of public concern because her speech “was driven by her own

entirely rational self-interest in improving the conditions of her employment.” Id.

       Here, too, the record shows that Plaintiff spoke in his role as an employee seeking to

improve his working conditions, not as a citizen drawing attention to a matter of public concern.

Plaintiff voiced his concerns to Chief Carter in private internal meetings. Like the plaintiff in

Morgan, he did not attempt to involve the public in any manner. Although workplace

discrimination is generally a matter of societal concern, “the mere fact that the topic of the

employee’s speech was one in which the public might or would have had a great interest” should

not sway the court’s analysis as Plaintiff suggests (Doc. # 36 at 37). Morgan, 6 F.3d at 754.

Considering the entire record, the court concludes that Plaintiff primarily spoke as an employee in

order to remedy his own working conditions. Because Plaintiff has failed to establish that he

suffered a deprivation of any constitutional right, Defendants are entitled to summary judgment on

his First Amendment retaliation claim.

       Although not necessary to its holding, the court briefly addresses the remaining elements

of Plaintiff’s First Amendment retaliation claim. Even if Plaintiff’s speech could be considered a

matter of public concern (and, to be clear, it cannot), his First Amendment speech interests do not

outweigh the City’s interest “in promoting the efficiency of the public services it performs through

its employees.” Bryson, 888 F.2d at 1565. In making this determination, the court considers three

factors: “(1) whether the speech at issue impedes the government's ability to perform its duties

efficiently, (2) the manner, time, and place of the speech, and (3) the context within which the

speech was made.” Id. at 1567. The court also considers “whether the statement impairs discipline



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by superiors or harmony among co-workers, has a detrimental impact on close working

relationships for which personal loyalty and confidence are necessary, or impedes the performance

of the speaker's duties or interferes with the regular operation of the enterprise.” Rankin, 483 U.S.

at 388. Here, the City’s interest in the efficient operation of its Police Department outweighs

Plaintiff’s interest in complaining about his perception that Phillips treated him unfairly. Plaintiff

repeatedly demonstrated a lack of regard for Phillips’s authority as his supervisor by talking over

her and claiming (in front of another employee) that she did not have the power to reassign him to

other shifts. This is particularly true here within the context of a Police Department where the

chain of command is crucial for public safety. Plaintiff has failed to satisfy the Pickering balancing

test.

        Next, the court determines that Plaintiff’s unprotected speech was not a substantial factor

motivating any of the potentially adverse actions noted above. Again, even assuming these actions

are considered “adverse” for the purposes of a retaliation claim, there is nothing in the Rule 56

record (other than Plaintiff’s conclusory allegations) to suggest that Phillips reassigned Plaintiff to

a different shift, issued written critiques about his job performance, or reported his insubordinate

behavior to Chief Carter because of Plaintiff’s complaints that males were treated differently in

the jail/dispatch department. By contrast, the record indicates that Phillips merely acted in

accordance with her legitimate duties as Plaintiff’s supervisor. In fact, the Rule 56 evidence

suggests that Phillips only became aware of his complaints through the final instance of

insubordination that resulted in his departure from the City. In her memorandum recommending

Plaintiff’s termination, Phillips noted his “obvious paranoia that two white women have been

sabotaging his job at Adamsville.” (Doc. # 34-5 at 4). However, the court concludes that this

statement did not form the grounds for Plaintiff’s termination because Chief Carter (who made the



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ultimate decision to terminate Plaintiff’s employment) testified that he reviewed the video

evidence and determined from that review that Plaintiff’s insubordinate conduct was a terminable

offense. (Docs. # 29-2 at 13, pp. 46-47; 45-1 at 3). Consequently, because Plaintiff has failed to

demonstrate that he suffered any constitutional violation, Defendants are entitled to summary

judgment on Plaintiff’s First Amendment retaliation claim.

         C. Phillips is Entitled to Qualified Immunity on All of Plaintiff’s Section 1983 Claims

         Because Plaintiff has failed to establish he suffered any violation of his rights under Section

1983, the court also finds that Phillips is entitled to qualified immunity. (Doc. # 29 at 22-26, 39-

42). Under the doctrine of qualified immunity, public officials performing discretionary functions 15

are “shielded from liability for civil damages if their actions did not violate ‘clearly established

statutory or constitutional rights of which a reasonable person would have known.’” Hope v.

Pelzer, 536 U.S. 730, 739 (2002) (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). In

evaluating whether Phillips is entitled to qualified immunity, the court “must first determine

whether [Plaintiff] has alleged the deprivation of an actual constitutional right at all, and if so,

proceed to determine whether that right was clearly established at the time of the alleged violation.”

Stanley v. City of Dalton, Ga., 219 F.3d 1280, 1286 (11th Cir. 2000) (quoting Wilson v. Layne,

526 U.S. 603, 609 (1999)). Because Plaintiff has not shown that he suffered a deprivation of any

right, he has likewise “failed to allege the violation of a clearly established right.” Id. (internal

quotations omitted). Thus, the court is “not required to examine the clearly established law at the

time of the offense.” Id. n. 7 (quoting Marshall v. Allen, 984 F.2d 787, 793 (7th Cir. 1993)).


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            Plaintiff has not asserted any argument that Phillips acted outside of her discretionary authority in
implementing any of the employment actions at issue. Indeed, any such allegation would be off the mark. In
determining whether an official acted within the scope of her discretionary authority, a court should ask “whether the
government employee was (a) performing a legitimate job-related function (that is, pursuing a job-related goal), and
(b) through means that were within [her] power to utilize.” Holloman ex rel. Holloman v. Harland, 370 F.3d 1252,
1265-66 (11th Cir. 2004). Phillips acted well within her discretionary duties as Dispatch Supervisor in effectuating
such actions as schedule changes, reprimands, and performance evaluations.

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Accordingly, all Section 1983 claims against Phillips in her individual capacity are barred by the

doctrine of qualified immunity.

       Additionally, Phillips was not the “decisionmaker” with respect to Plaintiff’s termination.

Under Section 1983, only “official decisionmakers,” meaning individuals who have “the power to

terminate an employee,” may be held individually liable. Kamensky v. Dean, 148 F. Appx. 878,

880 (11th Cir. 2005). It is undisputed in this case that Chief Carter -- not Phillips -- made the

ultimate decision to end Plaintiff’s employment with the City. But, Chief Carter is not a named

defendant in this action. Although his briefing is unclear, the court understands Plaintiff to argue

that Phillips may be held individually liable for either “terminat[ing] or influenc[ing] the

termination” of Plaintiff. (Doc. # 36 at 49). In other words, Plaintiff attempts to impose individual

liability upon Phillips as the “recommender” under a “cat’s paw theory.” (Id. at 45-46). However,

even if the Rule 56 evidence supported that claim (and, to be clear, it does not), the Eleventh

Circuit has not extended individual liability to situations where a recommender who is motivated

by retaliatory animus wields the cat’s paw. Kopp v. City of Greensboro, 2016 WL 4435085, at *7

(M.D. Ga. Aug. 18, 2016) (citing Kamensky, 148 F. Appx. at 880). Thus, the court cannot find that

Phillips, who recommended termination but was not the final decisionmaker, is individually liable

under Section 1983.

IV.    Conclusion

       For the reasons explained above, Defendants’ Motion for Summary Judgment (Doc. # 29)

is due to be granted. An Order consistent with this Memorandum Opinion will be entered.




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DONE and ORDERED this July 30, 2019.



                              _________________________________
                              R. DAVID PROCTOR
                              UNITED STATES DISTRICT JUDGE




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